              Case 2:24-cv-00158-JNW Document 29 Filed 02/12/24 Page 1 of 3




                                                      THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    SHOALWATER BAY INDIAN TRIBE,                        CASE NO. C24-0158-JCC
10                          Plaintiff,                    MINUTE ORDER
11           v.

12    EXXON MOBIL CORPORATION, et al.,

13                          Defendants.
14

15
            The following Minute Order is made by direction of the Court, the Honorable John C.
16
     Coughenour, United States District Judge:
17
            This matter comes before the Court on the parties’ stipulation regarding the case briefing
18
     schedule (Dkt. No. 22). Finding good cause, the motion is GRANTED. The Court sets the
19
     following briefing schedule:
20
        1. Plaintiff’s motion to remand shall be filed within 45 days of the filing of this stipulated
21
            motion (Dkt. No. 22). Defendants’ opposition shall be filed within 45 days of Plaintiff’s
22
            motion. Any reply shall be filed within 30 days of Defendants’ opposition.
23
        2. No defendant is required to file an answer or motion to dismiss or otherwise respond to
24
            the complaint before the Court’s order on Plaintiff’s motion to remand.
25
        3. If the Court denies Plaintiff’s motion to remand, Defendants will file any motion(s) to
26
            dismiss within 60 days of such denial. The parties will also promptly meet and confer

     MINUTE ORDER
     C24-0158-JCC
     PAGE - 1
               Case 2:24-cv-00158-JNW Document 29 Filed 02/12/24 Page 2 of 3




 1           regarding an appropriate briefing schedule and page limits for Defendants’ motion(s) to

 2           dismiss, and will endeavor to jointly submit a proposal to the Court within 10 days of the

 3           Court’s order denying Plaintiff’s motion to remand. If the parties are not able to agree on

 4           a proposed briefing schedule, they will submit separate proposals to the Court.

 5        4. In the event the Court denies Defendants’ motion(s) to dismiss, in whole or in part,

 6           Defendants’ answers shall be due within 60 days of the Court’s denial of the last of the

 7           motions.

 8        5. If the Court grants Plaintiff’s motion to remand, the parties agree to abide by the same
 9           schedule in state court: Defendants will file any motions to dismiss within 60 days of the
10           action being remanded to state court, and the parties will promptly meet and confer and
11           endeavor to propose a briefing schedule and plan for those motions within 10 days of the
12           remand order taking effect.
13        6. Defendants reserve the right to seek an extension of time to respond to the complaint and
14           the parties reserve the right to request that the Court stay proceedings.
15        7. The deadline to serve Rule 26(a) initial disclosures and the issuance of a Rule 16(b)
16           scheduling order shall be stayed until after the Court has ruled on the motion to remand.
17        8. Defendants do not, by agreeing to the procedures herein, waive their objections to
18           personal jurisdiction, insufficient process, or insufficient service of process. Plaintiff

19           agrees that it will not assert in federal or state court that there has been any waiver of

20           personal jurisdiction because of the parties’ agreement to have the Court consider and

21           adjudicate the motion to remand prior to the filing of motions to dismiss.

22        9. The deadlines of foreign defendants BP p.l.c. and Shell p.l.c. to file an answer or motion

23           to dismiss or otherwise respond to the complaint shall be no earlier than the deadlines

24           applicable to Defendants set forth herein.

25   //

26   //


     MINUTE ORDER
     C24-0158-JCC
     PAGE - 2
            Case 2:24-cv-00158-JNW Document 29 Filed 02/12/24 Page 3 of 3




 1        DATED this 12th day of February 2024.

 2
                                                  Ravi Subramanian
 3                                                Clerk of Court
 4
                                                  s/Kathleen Albert
 5                                                Deputy Clerk

 6

 7

 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     MINUTE ORDER
     C24-0158-JCC
     PAGE - 3
